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   United States of America
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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 1:19-CR-00153-DAD-BAM
12                                Plaintiff,             STIPULATION REGARDING EXCLUDABLE
                                                         TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                          v.                           AND ORDER
14   RANDOLPH PICCHI ET AL.,                             DATE: December 9, 2020
                                                         TIME: 1:00 p.m.
15                                Defendants.            COURT: Hon. Barbara A. McAuliffe
16

17          This case is set for status conference on December 9, 2020. On May 13, 2020, this Court issued

18 General Order 618, which suspends all jury trials in the Eastern District of California until further

19 notice. This General Order was entered to address public health concerns related to COVID-19.

20 Further, pursuant to General Order 611 and 620, this Court’s declaration of judicial emergency under 18
21 U.S.C. § 3174, and the Ninth Circuit Judicial Council’s Order of April 16, 2020 continuing this Court’s

22 judicial emergency, this Court has allowed district judges to continue all criminal matters to a date after
               1
23 May 1, 2020.

24          Although the General Order addresses the district-wide health concern, the Supreme Court has

25 emphasized that the Speedy Trial Act’s end-of-justice provision “counteract[s] substantive

26 openendedness with procedural strictness,” “demand[ing] on-the-record findings” in a particular case.
27
            A judge “may order case-by-case exceptions” at the discretion of that judge “or upon the
            1

28 request of counsel, after consultation with counsel and the Clerk of the Court to the extent such an order
   will impact court staff and operations.” General Order 618, ¶ 7 (E.D. Cal. May 13, 2020).
     STIPULATION REGARDING EXCLUDABLE TIME              1
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 1 Zedner v. United States, 547 U.S. 489, 509 (2006). “[W]ithout on-the-record findings, there can be no

 2 exclusion under” § 3161(h)(7)(A). Id. at 507. And moreover, any such failure cannot be harmless. Id.

 3 at 509; see also United States v. Ramirez-Cortez, 213 F.3d 1149, 1153 (9th Cir. 2000) (explaining that a

 4 judge ordering and ends-of-justice continuance must set forth explicit findings on the record “either

 5 orally or in writing”).

 6          Based on the plain text of the Speedy Trial Act—which Zedner emphasizes as both mandatory

 7 and inexcusable—General Orders 611, 612, 617, 618, and 620 and the subsequent declaration of judicial

 8 emergency require specific supplementation. Ends-of-justice continuances are excludable only if “the

 9 judge granted such continuance on the basis of his findings that the ends of justice served by taking such
10 action outweigh the best interest of the public and the defendant in a speedy trial.” 18 U.S.C. §

11 3161(h)(7)(A). Moreover, no such period is excludable unless “the court sets forth, in the record of the

12 case, either orally or in writing, its reason or finding that the ends of justice served by the granting of

13 such continuance outweigh the best interests of the public and the defendant in a speedy trial.” Id.

14          The General Orders and declaration of judicial emergency exclude delay in the “ends of justice.”

15 18 U.S.C. § 3161(h)(7) (Local Code T4). Although the Speedy Trial Act does not directly address

16 continuances stemming from pandemics, natural disasters, or other emergencies, this Court has

17 discretion to order a continuance in such circumstances. For example, the Ninth Circuit affirmed a two-

18 week ends-of-justice continuance following Mt. St. Helens’ eruption. Furlow v. United States, 644 F.2d

19 764 (9th Cir. 1981). The court recognized that the eruption made it impossible for the trial to proceed.

20 Id. at 767-68; see also United States v. Correa, 182 F. Supp. 326, 329 (S.D.N.Y. 2001) (citing Furlow to
21 exclude time following the September 11, 2001 terrorist attacks and the resultant public emergency).

22 The coronavirus is posing a similar, albeit more enduring, barrier to the prompt proceedings mandated

23 by the statutory rules.

24          In light of the societal context created by the foregoing, this Court should consider the following

25 case-specific facts in finding excludable delay appropriate in this particular case under the ends-of-

26 justice exception, § 3161(h)(7) (Local Code T4).2 If continued, this Court should designate a new date
27
            2
            The parties note that General Order 612 acknowledges that a district judge may make
28 “additional findings to support the exclusion” at the judge’s discretion. General Order 612, ¶ 5 (E.D.
   Cal. March 18, 2020).
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 1 for the status conference. United States v. Lewis, 611 F.3d 1172, 1176 (9th Cir. 2010) (noting any

 2 pretrial continuance must be “specifically limited in time”).

 3                                                STIPULATION

 4          Plaintiff United States of America, by and through its counsel of record, and defendants, by and

 5 through their counsel of record, hereby stipulate as follows:

 6          1.     By previous order, this matter was set for status on December 9, 2020.

 7          2.     By this stipulation, defendants now move to continue the status conference until April 14,

 8 2021, and to exclude time between December 9, 2020, and April 14, 2021, under Local Code T4.

 9          3.     The parties agree and stipulate, and request that the Court find the following:

10                 a)      The government has represented that the discovery associated with this case

11          includes over 7,000 pages of police reports, FBI serials, wiretap documents, intercepted calls and

12          text messages, photographs, cell phone reports, and other media. This discovery has been either

13          produced directly to counsel and/or made available for inspection and copying. All of this

14          discovery has been either produced directly to counsel and/or made available for inspection and

15          copying.

16                 b)      Counsel for defendants desire additional time to consult with their clients, review

17          discovery, research the charges, discuss potential resolutions with their clients, and otherwise

18          prepare for trial. In addition, as a result of the public health emergency, defense counsels’ ability

19          to communicate with their clients has been largely limited to telephone. This limited access

20          requires significant additional time to convey discovery to their clients, and to consult with and

21          review discovery and other case matters. In addition, each of the parties has engaged in plea

22          discussions and the extra time will likely allow the parties to resolve this matter without trial.

23                 c)      Counsel for defendants believe that failure to grant the above-requested

24          continuance would deny him/her the reasonable time necessary for effective preparation, taking

25          into account the exercise of due diligence.

26                 d)      The government does not object to the continuance.

27                 e)      In addition to the public health concerns cited by General Order 617, and

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 1          presented by the evolving COVID-19 pandemic, an ends-of-justice delay is particularly apt in

 2          this case because some of the parties are high-risk due to factors such as age and medical

 3          conditions. Counsel for the parties have also been limited in their ability to conduct investigation

 4          and research the case due to shelter-in-home orders and remote working limitations.

 5                 f)      Based on the above-stated findings, the ends of justice served by continuing the

 6          case as requested outweigh the interest of the public and the defendants in a trial within the

 7          original date prescribed by the Speedy Trial Act.

 8                 g)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

 9          et seq., within which trial must commence, the time period of December 9, 2020 to April 14,

10          2021, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code

11          T4] because it results from a continuance granted by the Court at defendants’ request on the basis

12          of the Court’s finding that the ends of justice served by taking such action outweigh the best

13          interest of the public and the defendants in a speedy trial.

14          4.     Nothing in this stipulation and order shall preclude a finding that other provisions of the

15 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

16 must commence.

17                                        [Remainder of Page Left Blank]
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      STIPULATION REGARDING EXCLUDABLE TIME               4
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 1        IT IS SO STIPULATED.

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 3
     Dated: December 3, 2020                     MCGREGOR W. SCOTT
 4                                               United States Attorney
 5
                                                 /s/ ROSS PEARSON
 6                                               ROSS PEARSON
                                                 Assistant United States Attorney
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 8

 9   Dated: December 3, 2020                     /s/ JOHN F. GARLAND
                                                 JOHN F. GARLAND
10
                                                 Counsel for Defendant
11                                               RANDOLPH PICCHI
                                                 (Authorized by email on
12                                               December 3, 2020)

13
     Dated: December 3, 2020                     /s/ VIRNA SANTOS
14                                               VIRNA SANTOS
                                                 Counsel for Defendant
15                                               TINA PICCHI
16                                               (Authorized by email on
                                                 December 3, 2020)
17
     Dated: December 3, 2020                     /s/ ROGER WILSON
18                                               ROGER WILSON
                                                 Counsel for Defendant
19                                               MICHAEL MIZE
20                                               (Authorized by email on
                                                 December 3, 2020)
21
     Dated: December 3, 2020                     /s/ JAI GOHEL
22                                               JAI GOHEL
                                                 Counsel for Defendant
23                                               MICHAEL PACK
24                                               (Authorized by email on
                                                 December 3, 2020)
25 ///

26 ///
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     STIPULATION REGARDING EXCLUDABLE TIME   5
30   PERIODS UNDER SPEEDY TRIAL ACT
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                                                  ORDER
 1
            IT IS SO ORDERED that the status conference is continued from December 9, 2020, to April 14,
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     2021, at 1:00 p.m. before Magistrate Judge Barbara A. McAuliffe. Time is excluded pursuant to 18
 3
     U.S.C.§ 3161(h)(7)(A), B(iv).
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     IT IS SO ORDERED.
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 7      Dated:    December 4, 2020                       /s/ Barbara A. McAuliffe            _
                                                   UNITED STATES MAGISTRATE JUDGE
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      STIPULATION REGARDING EXCLUDABLE TIME          6
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